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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


 PLANNED PARENTHOOD FEDERATION OF
 AMERICA, INC.; PLANNED PARENTHOOD
 LEAGUE OF MASSACHUSETTS; and
 PLANNED PARENTHOOD ASSOCIATION OF
 UTAH,

                        Plaintiffs,

       v.

 ROBERT F. KENNEDY, JR., in his official
                                                      Case No. 1:25-cv-11913-IT
 capacity as SECRETARY OF THE U.S.
 DEPARTMENT OF HEALTH AND HUMAN
 SERVICES; U.S. DEPARTMENT OF HEALTH
 AND HUMAN SERVICES;
 MEHMET OZ, in his official capacity as
 ADMINISTRATOR OF THE CENTERS FOR
 MEDICARE & MEDICAID SERVICES; and
 CENTERS FOR MEDICARE & MEDICAID
 SERVICES,

                        Defendants.


                           TEMPORARY RESTRAINING ORDER

                                           July 7, 2025

TALWANI, D.J.

       Upon consideration of Plaintiffs’ Emergency Motion for a Temporary Restraining Order

and Preliminary Injunction [Doc. No. 4] and accompanying memorandum of law and supporting

declarations, and finding good cause shown, it is hereby ORDERED that the request for a

Temporary Restraining Order is GRANTED. It is further ORDERED that:

       1.       Defendants, their agents, employees, appointees, successors, and anyone acting in

concert or participation with Defendants are hereby enjoined from enforcing, retroactively


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enforcing, or otherwise applying the provisions of Section 71113 of “An Act to provide for

reconciliation pursuant to title II of H. Con. Res. 14,” against Planned Parenthood Federation of

America and its members; Planned Parenthood League of Massachusetts; and Planned

Parenthood Association of Utah;

       2.       Defendants, their agents, employees, appointees, successors, and anyone acting in

concert or participation with Defendants shall take all steps necessary to ensure that Medicaid

funding continues to be disbursed in the customary manner and timeframes to Planned

Parenthood Federation of America and its members; Planned Parenthood League of

Massachusetts; and Planned Parenthood Association of Utah.

       3.       Plaintiffs shall promptly serve this Temporary Restraining Order on Defendants

electronically or by another manner authorized by Fed. R. Civ. P. 5(b)(2). Within 72 hours of

such service, Defendants shall provide a copy of this Temporary Restraining Order to all

personnel within the Department of Health and Human Services and all state agencies involved

with the disbursement of Medicaid funding.

       4.       Defendants shall file a status report with the Court confirming Defendants’

compliance within 96 hours of service of this order.

       This Temporary Restraining Order shall remain in effect for fourteen days, unless

vacated, modified or extended by the court.

   IT IS SO ORDERED.
                                                 /s/Indira Talwani
                                                 United States District Judge



July 7, 2025
5:15 p.m.




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